                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                                 3: 95cr31-2

UNITED STATES OF AMERICA,                            )
                                                     )
                                                     )
Vs.                                                  )             ORDER
                                                     )
ERIC CREIGHTON SAMPSON,                              )
                                                     )
                 Defendant.                          )
_______________________________                      )

         THIS MATTER is before the court on defendant’s Motion for Reconsideration

(#369). Defendant asks that the court to reconsider its Order (#368) of October 5, 2012,

denying defendant’s Motion to Reduce Sentence re Crack Cocaine Offense. In that Order,

this court denied such motion for the following reason: “No reduction, as there was no

change from the defendant's crack cocaine reduction for Amendment 706. Therefore,

Amendment 750 is not applicable in this case.” Id. p.1. The court also noted that “[r]etained

counsel’s appearance was noted 6/21/2012, but no response to the supplemental PSR (#363)

was filed despite the passage of 90 days.” Id.

         Under 18 U.S.C. § 3582(c), a federal court generally lacks authority to "modify a term

of imprisonment once it has been imposed." Subsection (c)(2), however, permits a court to

reduce

         a term of imprisonment based on a sentencing range that has subsequently
         been lowered by the Sentencing Commission ... upon motion of the defendant
         ... if such a reduction is consistent with applicable policy statements issued by
         the Sentencing Commission.

18 U.S.C. § 3582(c)(2). The applicable policy statement, contained in § 1B1.10 of the

advisory Sentencing Guidelines, provides that "[a] reduction in the defendant's term of

imprisonment ... is not authorized under 18 U.S.C. § 3582(c)(2) if ... an amendment listed in


                                               -1-



      Case 3:95-cr-00031-MOC           Document 370        Filed 10/16/12     Page 1 of 4
subsection (c) does not have the effect of lowering the defendant's applicable guideline

range." U.S.S.G. § 1B1.10(a)(2)(B) (2011); see also § 1B1.10(c). The Sentencing

Commission has reduced the base offense levels applicable to offenses involving certain

quantities of crack cocaine as listed in the Drug Quantity Table contained in § 2D1.1(c).

While Part A of Amendment 750 is listed in § 1B1.10(c) and is, therefore, retroactive and

may serve as grounds for a reduction of sentence in appropriate cases, "a defendant is

ineligible for a reduced sentence if ‘the amendment does not have the effect of lowering the

defendant's applicable guideline range because of the operation of another guideline or

statutory provision.'" United States v. Munn, 595 F.3d 183, 187 (4th Cir.2010) (quoting

U.S.S.G. § 1B1.10 cmt. n. 1 (2008)).

       In seeking reconsideration, defendant argues that he has filed a Motion for

Appropriate Relief with the state court seeking vacatur of his 1990 conviction for assault on

a female, arguing in that court that such conviction was obtained in violation of his rights

under the United States Constitution. He contends that this court should now reconsider its

October 5, 2012, Order and stay its decision under Crack III pending resolution of the motion

for appropriate relief because

       [t]hat conviction served as one of the two prior convictions on which Mr.
       Sampson’s career offender enhancement was based, and without which he
       would not be a career offender.

Motion (#369) p. 3. If the state court vacates the 1990 conviction, defendant contends that

he would then be entitled to relief here as he would no longer be subject to the “career

offender status.” Id. pp. 3-4. Defendant cites no law in support of that conclusion.1

L.Cr.R.47.1(C).



       1
                Counsel for defendant should note that the Local Criminal Rules require
reflection of consultation with opposing counsel. L.Cr.R. 47.1(B).
                                              -2-



      Case 3:95-cr-00031-MOC          Document 370        Filed 10/16/12     Page 2 of 4
       Prevailing case law in the Fourth Circuit is inapposite to defendant’s substantive

argument. Even if defendant were to prevail before the state court and have his 1990

conviction for assault on a female set aside based on a constitutional violation - - which

would amount to “legal innocence” - - such event would not entitle him to reconsideration

of the sentence imposed in this court because he could not allege or show that he is “actually

innocent” of the career offender enhancement. The Fourth Circuit has clearly held that a

claim of “actual innocence” in the context of a sentencing enhancement requires a colorable

argument that the defendant is factually innocent of the predicate crimes, not that he was

incorrectly classified from a legal perspective. United States v. Pettiford, 612 F.3d 270, 284

(4th Cir.2010) (“actual innocence applies in the context of habitual offender provisions only

where the challenge to eligibility stems from factual innocence of the predicate crimes, and

not from the legal classification of the predicate crimes”); accord Bennett v. United States,

2011 WL 1791305 (May 10, 2011) (Conrad, C.J.). Thus, even if the court were to assume

that this new claim is not otherwise barred (and that defendant had properly and timely filed

such claim in accordance with 28 U.S.C. § 2255, not 18 U.S.C. § 3582), defendant does not

assert that he is factually innocent of the charges underlying his conviction for assault on a

female; thus, he would not be entitled to any reconsideration on such basis.

       While the Motion to Reconsider will be allowed, after careful consideration of all of

defendant’s arguments, the court will deny the relief sought and reaffirm its Order (#368) of

October 5, 2012, denying defendant's Motion to Reduce Sentence re Crack Cocaine Offense.



                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Reconsideration

(#369) is GRANTED, and, after consideration of defendant’s argument, the court DENIES

                                            -3-



      Case 3:95-cr-00031-MOC         Document 370       Filed 10/16/12     Page 3 of 4
the relief sought and REAFFIRMS its Order (#368) of October 5, 2012, denying defendant's

Motion to Reduce Sentence re Crack Cocaine Offense.




                                           Signed: October 16, 2012




                                          -4-



      Case 3:95-cr-00031-MOC       Document 370      Filed 10/16/12   Page 4 of 4
